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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )    Chapter 11
                                                                )
    PERFORMANCE POWERSPORTS GROUP                               )    Case No. 23-10047 (LSS)
    INVESTOR, LLC, et al., 1                                    )
                                                                )
                                    Debtors.                    )    (Jointly Administered)
                                                                )

                       AMENDED NOTICE OF AGENDA OF MATTERS SCHEDULED
                        FOR HEARING ON OCTOBER 4, 2023, AT 10:00 A.M. (ET)

             This hearing will be conducted in-person. Any exceptions must be approved by chambers.
                      Parties may observe the hearing remotely by registering with the Zoom
                               link below no later than October 4, 2023 at 8:00 a.m.:
        htps://debuscourts.zoomgov.com/mee�ng/register/vJIsde2vpzoqGjLqrtzCDgua89R5DYwqTnw
                           After registering your appearance by Zoom, you will receive a
                        confirmation email containing information about joining the hearing.

UNCONTESTED MATTERS WITH CERTIFICATE OF NO OBJECTION

1.           Debtors’ Motion for Entry of an Order Authorizing (A) Temporary Allowance of Claim for
             Voting Purposes and (B) Amendment of Plan Vote Amount Pursuant to Bankruptcy Rule
             3018 [Docket No. 465; Filed 9/15/2023]

             Related Documents:

                       A.    Certificate of No Objection Regarding Debtors' Motion for Entry of an Order
                             Authorizing (A) Temporary Allowance of Claim For Voting Purposes and (B)
                             Amendment of Plan Vote Amount Pursuant to Bankruptcy Rule 3018 [Docket
                             No. 477; Filed 9/28/2023]

             Status:         A Certificate of No Objection has been filed. This matter is going forward
                             unless otherwise directed by the Court.




1
       The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal tax
       identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
       Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and Performance
       Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East University Drive,
       Tempe, Arizona 85281.


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UNCONTESTED MATTERS:

2.      Debtors’ Second Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy
        Code [Docket No. 463; Filed 9/15/2023]

        Related Documents:

               A.     Debtors’ Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the
                      Bankruptcy Code Dated June 12, 2023 [Docket 378; Filed 6/12/2023]

               B.     Disclosure Statement with Respect to Debtors’ Amended Joint Plan of
                      Liquidation Pursuant to Chapter 11 of the Bankruptcy Code Dated June 12,
                      2023 [Docket No. 380; Filed 6/12/2023]

               C.     Order (I) Approving the Disclosure Statement; (II) Fixing the Voting Record
                      Date; (III) Approving the Notice and Objection Procedures in Respect of
                      Confirmation of the Plan; (IV) Approving Solicitation Packages and
                      Procedures for Distribution Thereof; (V) Approving the Forms of Ballots and
                      Establishment of Procedures for Voting on the Plan; (VI) Approving the Forms
                      of Notices to Non-Voting Classes Under the Plan; (VII) Fixing the Voting
                      Deadline to Accept or Reject the Plan; and (VIII) Approving Procedures for
                      Vote Tabulations in Connection Therewith [Docket No. 383; Filed 6/12/2023]

               D.     Solicitation Version Debtors’ Amended Joint Plan of Liquidation Pursuant to
                      Chapter 11 of the Bankruptcy Code Dated June 12, 2023 [Docket No. 385;
                      Filed 6/15/2023]

               E.     Notice of (I) Approval of the Disclosure Statement; (II) Establishment of the
                      Voting Record Date; (III) Hearing on Confirmation of the Plan and Procedures
                      for Objecting to Confirmation of the Plan; (IV) Procedures and Deadline for
                      Voting on the Plan; and (V) for Electing to Opt Out of Plan Release [Docket
                      No. 387; Filed 6/15/2023]

               F.     Notice of Filing of Plan Supplement [Docket No. 411; Filed 7/10/2023]

               G.     Notice of Continued Confirmation Hearing [Docket No. 466; Filed 9/15/2023]

               H.     Declaration of Kim D. Steverson of Omni Agent Solutions, Inc. Regarding
                      Solicitation of Votes and Tabulation of Ballots on the Debtors’ Second
                      Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy
                      Code [Docket No. 472; Filed 9/27/2023]

               I.     Notice of Filing of Second Plan Supplement [Docket No. 473; Filed 9/27/2023]

               J.     Declaration of Peter Kravitz in Support of Confirmation of the Debtors’
                      Second Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the
                      Bankruptcy Code [Docket No. 474; Filed 9/27/2023]


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                  K.   Debtors’ Memorandum of Law in Support of Confirmation of the Debtors’
                       Second Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the
                       Bankruptcy Code [Docket No. 475; Filed 9/27/2023]

                  L.   Notice of Proposed Findings of Fact, Conclusions of Law, and Order
                       Confirming the Debtors’ Second Amended Joint Plan of Liquidation Pursuant
                       to Chapter 11 of the Bankruptcy Code [Docket No. 476; Filed 9/27/2023]

                  M.   REDLINED Debtors’ Second Amended Joint Plan of Liquidation
                       Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 464; Filed
                       9/15/2023]

        Response Deadline:    July 17, 2023 at 4:00 p.m.; extended to August 7, 2023 at 4:00 p.m.
                              for Richard Godfrey.

        Responses Received: None to date.

        Status:        This matter is going forward on an uncontested basis. The Debtors’ witnesses
                       shall be Kim D. Steverson and Peter Kravitz via submission of their filed
                       declarations listed above as their direct testimony.


Dated: October 2, 2023                    /s/ Domenic E. Pacitti
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                                          Sally E. Veghte (DE Bar No. 4762)
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                                          Counsel to the Debtors and Debtors in Possession




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